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UNITED sTATEs DlsTRICT CoURT F'£"E§? [WW/ ' ~ D-C'
WESTERN DISTRICT OF TENNESSEBUL 20 AH |D: 95

WESTERN DIVISION

 

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ADAM EWING, et al. JUDGMENT IN A CIVIL CASE

v¢

UNITED AUTO GROUP, INC. CASE NO: 05-2323-D

 

DECISION BY COURT. 'I‘his action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AN'D ADJ'U'DGED that in accordance with the Order of
Dismissal entered on July 13, 2005, this cause is hereby dismissed
without prejudice.

APPROVED :

res B. NALn THOMASM.GOULD

UNITED STATES `.DISTRICT COURT

 

Clerk of Cou

 

 

(BY) D€P\-l

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with Rufs 58 and/or 79(a) FRCP on

 

 

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Honorable Bernice Donald
US DISTRICT COURT

